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                      United States Court of Appeals
                                       For the First Circuit
                                           _____________________
      No. 23-1234

                                     IN RE: VALERIANO DIVIACCHI,

                                            Respondent - Appellant.
                                             __________________

                                                     Before

                                           Barron, Chief Judge,
                                    Howard and Rikelman, Circuit Judges.
                                          __________________

                                             ORDER OF COURT

                                           Entered: January 8, 2024

              Appellant Valeriano Diviacchi appeals from the decision of the district court denying his
      motion for reinstatement to practice before that court following a suspension reciprocal to one
      imposed by the Massachusetts Supreme Judicial Court ("SJC"). "[T]he district court is vested with
      the power and responsibility of supervising the professional conduct of attorneys appearing before
      it." Kevlik v. Goldstein, 724 F.2d 844, 847 (1st Cir. 1984). This court generally reviews a district
      court's handling of disciplinary matters under the deferential abuse of discretion standard. See In
      re Oliveras Lopez De Victoria, 561 F.3d 1, 4 (1st Cir. 2009) (per curiam) (reviewing for abuse of
      discretion district court's imposition of reciprocal suspension); In re Zeno, 504 F.3d 64, 66 (1st
      Cir. 2007) (per curiam) (reviewing for abuse of discretion district court order temporarily
      suspending attorney from practice before district court).

              Appellant acknowledges that a provision of the district court's original order of suspension
      conditioned reinstatement in the District of Massachusetts on being returned to good standing by
      the SJC, and he acknowledges that that condition has not been met. We see no abuse of discretion
      or other error in the district court's conclusion that reinstatement was not warranted in light of the
      foregoing. We further discern no abuse of discretion as to the district court's implicit rejection of
      appellant's claims that the state discipline and reinstatement proceedings were so deeply flawed as
      to excuse appellant from the requirement that he be reinstated by the SJC.

             The judgment of the district court is affirmed.

                                                              By the Court:

                                                              Maria R. Hamilton, Clerk


      cc:    Robert M. Farrell, Valeriano Diviacchi
